Case 6:19-cv-01711-WWB-EJK Document 23-4 Filed 09/13/19 Page 1 of 7 PageID 691




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Case 6:19-cv-01711-WWB-EJK Document 23-4 Filed 09/13/19 Page 2 of 7 PageID 692
Case 6:19-cv-01711-WWB-EJK Document 23-4 Filed 09/13/19 Page 3 of 7 PageID 693
Case 6:19-cv-01711-WWB-EJK Document 23-4 Filed 09/13/19 Page 4 of 7 PageID 694
Case 6:19-cv-01711-WWB-EJK Document 23-4 Filed 09/13/19 Page 5 of 7 PageID 695
Case 6:19-cv-01711-WWB-EJK Document 23-4 Filed 09/13/19 Page 6 of 7 PageID 696
Case 6:19-cv-01711-WWB-EJK Document 23-4 Filed 09/13/19 Page 7 of 7 PageID 697
